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                EXHIBIT F
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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND

CHRISTINE DE LEVA,

                   Plaintiff,

       v.                                          Case No. 8:21-cv-01820-DKC

LOWE’S COMPANIES, INC. and LOWE’S
HOME CENTERS, LLC,

                   Defendants.



                       DECLARATION OF AUSTIN LANGENFELDER

       I, Austin Langenfelder, state as follows:

       1.      I make this Declaration of my own free will, based upon my personal knowledge

of the facts set forth below. I am over 18 years of age, and I am competent to make this

Declaration.

       2.      I have been employed by Lowe’s Home Centers, LLC (“Lowe’s”) since August

2020 as an Asset Protection Regional Investigations Manager.

       3.      On March 10, 2021, I received a report from the Lowe’s TellAP4Me application

that a customer had attempted to return items on a receipt on March 8, 2021 and Lowe’s systems

showed the items had already been refunded. The report further stated that video surveillance

showed Plaintiff Christine De Leva removing money from the cash register earlier that day. I

forwarded a copy of the report on to Senior Asset Protection Manager Chris Dang for

investigation. A true and accurate copy of the report and my e-mail to Mr. Dang is attached

hereto as Exhibit 1.
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       4.      Based upon a review of the evidence and findings from Mr. Dang’s investigation,

including the video and documentary evidence of Ms. De Leva’s theft, I approved him to

interview Ms. De Leva in person to complete the investigation into her fraudulent cash returns

and pass-off sales transactions. The videos showed, among other things, that Ms. De Leva

concealed cash that she removed from the register and walked off with it. Following Mr. Dang’s

interview of Ms. De Leva, he called me and verbally recounted Ms. De Leva’s admissions during

the interview. I recall learning that Ms. De Leva admitted verbally and in writing to taking the

cash from the register in the refund transactions. Based upon my previous review of the video

and documentary evidence of Ms. De Leva’s theft and Mr. Dang’s verbal report of her

admissions during the interview, I decided that proceeding with criminal prosecution (in lieu of

requesting that Ms. De Leva sign a promissory note for the monetary loss to Lowe’s) was

appropriate.   In making this decision, I applied Lowe’s internal case prosecution approval

guidelines, which consider such factors as the physical evidence of theft (e.g., a video showing

the subject concealed stolen cash or merchandise) and whether the subject admitted in writing to

any of the theft. Both of these factors were present in Ms. De Leva’s case.

       5.      Deputy Testerman of the Frederick County Sheriff’s Office e-mailed me and Mr.

Dang several months later, in August 2021, asking for the video evidence of Ms. De Leva’s theft

transactions. I provided Mr. Testerman with a link to access the videos per his request. I had no

involvement in the decision by Frederick County to pursue criminal charges against Ms. De

Leva; my involvement was limited to my decision to report the evidence of Ms. De Leva’s theft

to Frederick County law enforcement and to share the video evidence of her theft upon the

County’s request.



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